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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS


WILLIAM AKINS,                                     )
                                                   )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )         No. 18-1980
                                                   )         (Senior Judge Williams)
THE UNITED STATES,                                 )
                                                   )
                       Defendant.                  )

                DEFENDANT’S UNOPPOSED MOTION FOR AN
          ENLARGEMENT OF TIME TO FILE RESPONSE TO COMPLAINT

       Pursuant to Rules 6(b) and 6.1 of the Rules of the United States Court of Federal Claims,

defendant, the United States, respectfully requests a 45-day enlargement of time, to and

including April 11, 2019, to file a response to plaintiff’s complaint. Our response is currently

due on February 25, 2019. This is our first extension of time request. Counsel for plaintiff

indicated via email on February 15, 2019, that plaintiff does not object to the motion.

       Good cause exists for this extension of time. At the end of the day on December 21,

2018, the appropriations act that had been funding the Department of Justice expired and

appropriations to the Department lapsed. Absent an appropriation, Department of Justice

attorneys were prohibited from working, even on a voluntary basis, except in very limited

circumstances, including “emergencies involving the safety of human life or the protection of

property.” 31 U.S.C. § 1342. Counsel of record was furloughed based upon this lapse of

appropriations.

       Since funding was restored on January 25, 2019, counsel of record has had a lengthy

backlog of work including briefs in Dunn v. United States, No. 18-1225 (Fed. Cl.), Taylor et al.

v. United States, No. 18-1098 (Fed. Cl.), 2M Research Services, LLC v. United States, No. 17-
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1638 (Fed. Cl), and Kuwait Pearls Catering WLL v. United States, No. 17-220 (Fed. Cl).

Further, counsel of record also has a backlog of work in the Federal Circuit including briefs in

Montelongo v. OPM, No. 18-2095 (Fed. Cir.), and Wiggins v. OPM, No. 19-1143 (Fed. Cir.), and

an oral argument on March 4, 2019 in Cooper v. Department of the Army, No. 18-1350 (Fed.

Cir.). In addition, counsel of record has been summoned for jury duty in Federal district court

during the weeks of February 11 and February 18, 2019. Finally, the preparation of our response

to the complaint will require extensive coordination with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF), which further necessitates the extension.

       For these reasons, we respectfully request that the Court grant our motion for a 45-day

enlargement of time, through and including April 11, 2019, to file our response to plaintiff’s

complaint.




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                                         Respectfully submitted,

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February 20, 2019                        Attorneys for Defendant




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